      04-61462-frm Doc#49
                       IN Filed
                           THE 07/11/07
                                UNITED Entered
                                        STATES 07/11/07 20:30:19
                                                BANKRUPTCY       Main Document Pg 1 of 2
                                                              COURT
                     WESTERN DISTRICT OF TEXAS/WACO DIVISION

IN RE: ISMAEL HECTOR TORRES and EDIE D. TORRES                             CASE No.
       PO BOX 5941
                                                                           04-61462
       WACO TX                       76708-0941

                                FINAL REPORT AND ACCOUNT
                                                                        SS#1 - XXX-XX-4581
                                                                        SS#2 - XXX-XX-1005

This Case was                  The Plan was                    The Case was
commenced on Jul    2, 2004    confirmed on Feb 16, 2005       concluded on May 21, 2007

THIS CASE IS COMPLETED                               .
     Your trustee has maintained a detailed record of all receipts, including
the source or other identification of each receipt and of all disbursements.
Copies of these detailed records have been filed with the Court, or are attached
hereto, and are incorporated by reference in this report.


RECEIPTS: Amount paid to the Trustee by or for the Debtor for            the   benefit of
          creditors.                                                            $   7738.76

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DISBURSEMENTS TO CREDITORS     CLASS        AMOUNT     AMOUNT PAID       BALANCE
         CREDITOR'S NAME                   ALLOWED PRINCIPAL   INTEREST    DUE
--------------------------------------------------------------------------------
BILL L BADLEY                DIR.- PAY    7422.73       .00      .00        .00
BILL L BADLEY                ARREARAGE     800.00    800.00    43.36        .00
BRUCE & DIANNE SWANK         DIR.- PAY        .00       .00      .00        .00
CAPITAL ONE                  NOT FILED        .00       .00      .00        .00
CAPITAL ONE                  NOT FILED        .00       .00      .00        .00
CHILD SUPPORT ENFORCEMENT SV DIR.- PAY        .00       .00      .00        .00
CONSUELO TORRES              NOT FILED        .00       .00      .00        .00
DIVERSIFIED COLLECTION       NOT FILED        .00       .00      .00        .00
FINANCIAL CORP OF AMERICA    NOT FILED        .00       .00      .00        .00
GARY WILLIAM CUNHA           NOT FILED        .00       .00      .00        .00
INTERNAL REVENUE SERVICE     PRIORITY       21.02     21.02      .00        .00
LINEBARGER HEARD GOGGAN BLAI NOT FILED        .00       .00      .00        .00
MCCREARY VESELKA BRAGG ALLEN NOT FILED        .00       .00      .00        .00
MCLENNAN COUNTY TAX ASSESSOR SECURED       159.74    159.74    29.72        .00
MICHAEL D MILLIGAN           DIR.- PAY   26431.94       .00      .00        .00
MICHAEL D MILLIGAN           ARREARAGE    3660.89   3660.89   232.38        .00
OSI COLLECTION               NOT FILED        .00       .00      .00        .00
PDI MANAGEMENT               NOT FILED        .00       .00      .00        .00
PROVIDENCE HEALTH CENTER     NOT FILED        .00       .00      .00        .00
PROVIDENCE MEDICAL CLINIC    NOT FILED        .00       .00      .00        .00
PROVIDIAN FINANCIAL          NOT FILED        .00       .00      .00        .00
PROVIDIAN NATIONAL BANK      NOT FILED        .00       .00      .00        .00
U S DEPT OF EDUCATION        DIR.- PAY    9484.67       .00      .00        .00
WORLD FINANCE CORPORATION    DIR.- PAY        .00       .00      .00        .00
ISMAEL HECTOR TORRES         REFUND        134.63    134.63




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IN RE: ISMAEL HECTOR TORRES and EDIE D. TORRES                          CASE No.04-61462


SUMMARY OF CLAIMS ALLOWED AND PAID
--------------------------------------------------------------------------------
         SECURED   PRIORITY   GENERAL     LATE     SPECIAL   TOTAL
---------------------------------------------------------------------TOTAL PAID
AMT ALL. 38475.30      21.02   9484.67               134.63 50109.62 PRINCIPAL
PRIN PD    4620.63     21.02       .00               134.63   4776.28 AND INT.
INT PAID    305.46       .00       .00                         305.46    5081.74
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OTHER DISBURSEMENTS UNDER ORDER OF COURT:
          DEBTOR'S ATTORNEY             FEE ALLOWED    FEE PAID
JAMES C HERRING & ASSOCIATES               1994.00        1994.00
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COURT COSTS AND OTHER EXPENSES OF ADMINISTRATION:

FILING FEE      ADDITIONAL CHARGES          TRUSTEE         OTHER
              ----------------------- -------------------
& DEPOSIT       1% OF    .25 EA CLAIM EXP. & COMPENSATION    COST
              RECEIPTS     OVER 20          FUND
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      .00                               331.51/   331.51        .00   663.02
Approximated dividend to unsecured claims in this case was    .00 percent.

     WHEREFORE,    your Petitioner prays that a Final Decree be entered discharging
your Petitioner    as Trustee and releasing your Petitioner and the Trustee's sure-
ty from any and    all liability on account of the within proceedings, and closing
the estate, and    for such other and further relief as is just.

                                               /s/ Ray Hendren
                                               ________________________________________
                                               RAY HENDREN CH13 TRUSTEE
                                               8310 CAPITAL OF TX HWY N
                                               SUITE 475
                                               AUSTIN TX                      78731-0000
CC: US TRUSTEE
    903 SAN JACINTO STE 230

    AUSTIN TX                            78701-0000
